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 4
     Attorney for Defendant
 5   JOSE TALAVERA
 6
                                   UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
                                                  )
10   UNITED STATES OF AMERICA,                    )       CASE NO. 1:09-cr-00075-AWI
                Plaintiff,                        )
11
          vs.                                     )
12                                                )       STIPULATION AND ORDER TO
     JOSE TALAVERA,                               )       CONTINUE STATUS CONFERENCE/
13                                                )       MOTION HEARING DATE
                   Defendant.                     )
14
                                                  )
15                                                )

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17

18          IT IS HEREBY STIPULATED by and between Assistant United States Kathleen

19   Servatius, Counsel for Plaintiff, Attorney Preciliano Martinez, Counsel for Defendant Jose
20
     Talavera, that the Status Conference/ Motion Hearing date scheduled for October 17, 2011, at
21
     9:00 a.m. be vacated and the Status Conference/ Motion Hearing be continued to this court’s
22
     calendar on November 7, 2011 at 9:00 a.m. Mr. Martinez has a preliminary hearing for a murder
23

24   trial in Stanislaus County.

25   ///
26
     ///
27
     ///
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                           The court is advised that counsel have conferred about this request that they have agreed
 1

 2   to the court date of November 7, 2011 and that Ms. Servatius has authorized Preciliano Martinez

 3   to sign this stipulation on her behalf.
 4
                           The parties agree and stipulate that time should be excluded under the Speedy Trial Act
 5
     pursuant to Local Code T4 for completion of plea negotiations, up to and including November 7,
 6

 7
     2011.

 8                                                                            Respectfully Submitted,
 9

10
     Dated: October 12, 2011                                                  /s/ Preciliano Martinez
                                                                              Preciliano Martinez
11                                                                            Attorney for Defendant
                                                                              JOSE TALAVERA
12

13

14   Dated: October 12, 2011                                                  /s/ Kathleen Servatius
                                                                              Assistant U.S. Attorney
15
                                                                              Attorney for Plaintiff
16                                                                            UNITED STATES OF AMERICA

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18

19                                                             ORDER

20                         Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court
21
     that the current October 17, 2011 Status Conference/ Motion Hearing is hereby vacated and reset
22
     to November 7, 2011.
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25   IT IS SO ORDERED.

26   Dated: October 13, 2011
27   DEAC_Signature-END:
                                                        CHIEF UNITED STATES DISTRICT JUDGE

28   0m8i788


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